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                                                                         REISSUED FOR PUBLICATION
                                                                                          JUN 7 2021
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                                                                               U.S. COURT OF FEDERAL CLAIMS
      In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                                Filed: May 24, 2021

* * * * * * * * * * * * * *                        *
JOHN NEWSOME,                                      *       No. 19-1606V
                                                   *
                 Petitioner,                       *       Special Master Sanders
                                                   *
v.                                                 *
                                                   *       Notice of Voluntary Dismissal; Vaccine Rule 21(a);
SECRETARY OF HEALTH                                *       No Judgment; Order Concluding Proceedings
AND HUMAN SERVICES,                                *
                                                   *
          Respondent.                              *
* * * * * * * * * * * * * *                        *

                                 ORDER CONCLUDING PROCEEDINGS 1

       On May 14, 2021, Petitioner filed a notice of voluntary dismissal pursuant to Vaccine Rule
21(a)(1)(A). ECF No. 26.

        Accordingly, pursuant to Vaccine Rule 21(a) the above-captioned case is hereby dismissed
without prejudice. The Clerk of Court is hereby instructed that a judgment shall not enter in the
instant case pursuant to Vaccine Rule 21(a).

        IT IS SO ORDERED.

                                                   s/Herbrina D. Sanders
                                                   Herbrina D. Sanders
                                                   Special Master




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  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance with the
E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. §
3501 note (2012)). This means the Decision will be available to anyone with access to the Internet. As provided
by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2)
that includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion
of privacy.” Vaccine Rule 18(b).
